Case 1:04-cv-Oll74-.]DT-STA Document 27 Filed 06/09/05 Page 1 of 2 Page|D 16

IN THE UNITED sTATEs DIsTRiCT CoURT ;/~/@i;£§v V/
FoR THE WESTERN DISTRICT oF TENNESsEavgk///
EASTERN DlesIoN ”‘""'i’~ ` 43

RAYMOND ANDREW CLARK,

Plaintiff,

 

VS. No. 04-1 l74-T/An

CHARLES TRAUGHBER, ET AL.,

\_/\._/\_/\_/\-/\_.,/\_/\_/\_/

Defendants.

 

ORDER ON MOTION TO INCLUDE EXHIBITS

 

Plaintiff, Raymond Andrevv Clark, has filed a motion asking the Court to “include the
attached exhibit to (sic) the above case,” asserting that it is relevant to his claims. The exhibit in
question is a letter vvith an attachment, dated May 23, 2005, from plaintiff to C. Edward Scudder,
Jr., identified as General Counsel for the Tennessee Board of Probation and Parole.

To the extent that plaintiff is seeking to include this letter as an exhibit in support of his
pending motion for summary judgment, the motion is GRANTED. The Court Will consider this
exhibit, if it is indeed relevant to the issues, in resolving the motion for summary judgment
However, to the extent that plaintiff seeks to admit this document into evidence in anticipation of
a trial, the motion is DENIED. Trial exhibits must be offered into evidence during the actual trial,

and may not be admitted before trial by simply mailing them to the Court.

IT is so oRDERED. Q b QVM

JAM D. TODD
UNI D STATES DISTRICT JUDGE

DATE §/ 201/wl W£/

 

 

This document entered on the docket €;e Cip com ltance
with Ftule 58 and,’or 79 {a) FRCP on ' 5

DISTRICT oURT - WEST RN D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-01174 Was distributed by fax, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

